    Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 1 of 34 PageID #:297




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ELIZABETH GONZALEZ,                               )
                                                   )
                                Plaintiff,         )
                                                   )
                       v.                          )
                                                   )   No. 20 C 2111
 JANET DHILLON, Chair of the U.S. Equal            )
 Employment Opportunity Commission, and            )   Judge Kennelly
 the UNITED STATES EQUAL                           )
 EMPLOYMENT OPPORTUNITY                            )
 COMMISSION,                                       )
                                                   )
                                Defendants.        )

MEMORANDUM IN SUPPORT OF DEFENDANTS’ PARTIAL MOTION TO DISMISS

                                             Introduction

       Plaintiff Elizabeth Gonzalez brings this employment discrimination suit alleging that her

former employer, the U.S. EEOC, discriminated against her on the basis of sex, national origin,

and disability, failed to provide reasonable accommodations, and retaliated against her.

Defendants (“the EEOC”) have partially answered, denying the core of Gonzalez’s complaint—

her claims related to her resignation in November 2015. However, the EEOC moves to dismiss

claims from Gonzalez’s Second EEO Complaint that Gonzalez did not timely exhaust: her claim

that the EEOC improperly included her reasons for resignation on the SF-50 form and her claim

that the EEOC provided incorrect information to U.S. Customs and Border Protection during a

subsequent background check. Gonzalez did not initiate counselor contact within the required 45-

day window related to this alleged wrongful conduct—initiating it instead over seven months and

over two years later, respectively.

       Thus, Gonzalez’s claims from her Second EEO Complaint should be dismissed for failure

to timely exhaust.
     Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 2 of 34 PageID #:298




                                               Facts

I.     First Amended District Court Complaint

       Plaintiff Elizabeth Gonzalez filed her original complaint pro se on March 31, 2020, against

the chair of the EEOC. Dkt. 1. On September 3, 2020, counsel was appointed on plaintiff’s behalf,

and she was provided the opportunity to amend her complaint, which she did on December 1,

2020. Dkts. 20, 24-25. In her First Amended Complaint, Gonzalez added the agency itself as a

defendant to the suit. 1st Am. Compl. ¶ 5, Dkt. 25. The following facts are taken from Gonzalez’s

First Amended Complaint.

       Gonzalez is a former employee of the Chicago District Office of the EEOC. 1st Am.

Compl. ¶¶ 23, 39, Dkt. 25.       She was hired in December 2014 as an information intake

representative, where she would receive and respond to telephone calls from individuals seeking

information on employment discrimination, the charge filing process, and pre-charge counseling,

among other things. Id. ¶¶ 23-25. Gonzalez resigned on November 25, 2015. Id. ¶ 39. Gonzalez

alleges that she was constructively discharged, id. ¶ 64, and that the EEOC discriminated against

her based on national origin and sex, id. ¶¶ 47-54, failed to accommodate her disability, id. ¶¶ 55-

65, and retaliated against her, id. ¶¶ 66-71. Gonzalez seeks monetary damages and other available

remedies. Id. ¶ 72.

       The vast majority of Gonzalez’s allegations involve her employment at the Chicago

District Office of the EEOC and the events surrounding her resignation. 1st Am. Compl. ¶¶ 23-

42. However, the subject of this motion to dismiss does not involve those allegations. This motion

to dismiss involves solely the claims in her Second EEO Complaint—claims involving Gonzalez’s

allegations of wrongful conduct that occurred after Gonzalez’s resignation on November 25, 2015

(id. ¶¶ 45-46, 69). Gonzalez alleged that the EEOC improperly included the reasons Gonzalez


                                                 2
      Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 3 of 34 PageID #:299




provided for her resignation on the Standard Form 50 (SF-50), issued on January 5, 2016 (id. ¶¶ 45,

69), and that the EEOC provided negative information to U.S. Customs and Border Protection

during its background check related to Gonzalez’s potential employment with U.S. Customs and

Border Protection (id. ¶¶ 46, 69).

II.     Administrative Proceedings

        Gonzalez has filed multiple EEO complaints based on her EEOC employment, but only

two are relevant to the operative complaint.

        A.     First EEO Complaint

        Gonzalez filed her “First EEO Complaint” (No. 2016-0014) on January 12, 2016, alleging

discrimination, failure to offer reasonable accommodation, and retaliation based on her November

25, 2015 resignation and a subsequent paycheck issue. 1st Am. Compl. ¶ 10; First EEO Complaint,

Ex. A (see also Dkt. 1 at 52-53). The agency issued its notice of dismissal. Id. ¶ 11. Gonzalez

appealed and on appeal, the agency’s decision was vacated and the case remanded to provide

Gonzalez an opportunity for a hearing on her claims. Id. ¶ 13. Gonzalez requested a hearing on

January 11, 2020. Id. ¶ 14. On March 27, 2020, Gonzalez withdrew her request for a hearing. Id.

The agency then issued a final decision on her First EEO Complaint on August 3, 2020. Id. ¶ 15.

On March 31, 2020, Gonzalez filed this suit. Dkt. 1.

        The EEOC is not moving to dismiss Gonzalez’s claims related to her First EEO Complaint.

Answer, Dkt. 19, and Am. Answer, Dkt. 22.

        B.     Second EEO Complaint

        Gonzalez initiated EEO counselor contact on November 16, 2018. 1st Am. Compl. ¶ 17.

She filed a formal complaint of discrimination (the “Second EEO Complaint”) on March 2, 2019,

alleging that the Commission subjected her to reprisal by including her reasons for resignation on


                                                3
      Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 4 of 34 PageID #:300




the standard form 50 (“SF-50”) and by providing incorrect information to the Customs and Border

Protection background investigator, among others. Id. ¶18; Second EEO Complaint, Ex. B (see

also Dkt. 1 at 9-10). On May 6, 2019, the agency issued a notice of dismissal. 1st Am. Compl.

¶ 19. On May 9, 2019, Gonzalez filed an appeal from the agency’s decision. Id. ¶ 20. On

December 27, 2019, the EEOC issued a final agency decision on the Second EEO Complaint. Id.

¶ 21; FAD, Ex. C (see also Dkt. 1 at 32-40).

                                             Argument

I.      Motion to Dismiss Standard

        The Federal Rules require a complaint to “contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)). A complaint should be

dismissed pursuant to Rule 12(b)(6) if it does not meet this requirement. St. John’s United Church

of Christ v. City of Chicago, 502 F.3d 616, 625 (7th Cir. 2007). In ruling on a motion to dismiss,

the court may consider documents referred to and thereby incorporated into the complaint.

Thompson v. Ill. Dept. of Professional Regulation, 300 F.3d 750, 754 (7th Cir. 2002); Fed. R. Civ.

P. 10(c). The court should accept the plaintiff’s allegations as true but need draw only reasonable

inferences in her favor. Williams v. Seniff, 342 F.3d 774, 781 (7th Cir. 2003).

II.     The U.S. EEOC Is Not a Proper Defendant and Should Be Dismissed.

        The U.S. EEOC is not a proper defendant here. In Gonzalez’s pro se complaint, she

properly initiated this suit solely against the head of the agency, Janet Dhillon, Chair of the U.S.

Equal Employment Opportunity Commission. See generally Compl., Dkt. 1. However, in

Gonzalez’s First Amended Complaint, she adds the U.S. Equal Employment Opportunity

Commission as a defendant to this suit. 1st Am. Compl. ¶ 5. This change was improper. The


                                                  4
       Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 5 of 34 PageID #:301




“only proper defendant in a Title VII suit is the head of the agency accused of having discriminated

against the plaintiff. See 42 U.S.C. § 2000e–16(c).” McGuinness v. U.S. Postal Serv., 744 F.2d

1318, 1322 (7th Cir. 1984); Shapiro v. United States, No. 18 C 3361, 2018 WL 11230467, at *2

(N.D. Ill. May 31, 2018). Accordingly, the U.S. Equal Employment Opportunity Commission

should be dismissed.

III.     Gonzalez’s Claims related to her SF-50 and Background Check Should Be Dismissed.

         A.     Gonzalez Failed to Timely Exhaust her SF-50 and Background-Check Claims.

         Gonzalez did not timely exhaust her administrative remedies as required for claims related

to her SF-50 form (1st Am. Compl. ¶¶ 45, 69) or claims related to her Customs and Border

Protection background check (id. ¶¶ 46, 69). She did not include any of these claims in her First

EEO Complaint. See generally Ex. A; see also Dkt. 1 at 52-53. Although she asserted these claims

in her Second EEO Complaint, she had not initiated counselor contact within 45 days of the alleged

conduct. It is well-established that a Title VII plaintiff must exhaust her administrative remedies

before bringing a cause of action for employment discrimination under Title VII. Ester v. Principi,

250 F.3d 1068, 1071 (7th Cir. 2001). Her failure to do so bars these claims.

                1.      Gonzalez Did Not Allege Any Misconduct Related to These Two Claims
                        in Her First EEO Complaint.

         Gonzalez’s claims that the EEOC discriminated against her by including improper

information on her SF-50 and providing erroneous information for a background check must be

dismissed because she never exhausted those claims in her First EEO Complaint that gave rise to

this action and, as argued below, she never timely exhausted those claims in her Second EEO

Complaint either. Title VII plaintiffs must exhaust their administrative remedies before bringing

suit, and as a general rule, “a Title VII plaintiff cannot bring claims in a lawsuit that were not

included in her EEOC charge.” Teal v. Potter, 559 F.3d 687, 691 (7th Cir. 2009) (internal citation

                                                 5
    Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 6 of 34 PageID #:302




and quotation marks omitted). “The purpose of this requirement is twofold: to promote resolution

of the dispute by settlement or conciliation and to ensure that the sued employers receive adequate

notice of the charges against them.” Id. at 691. It is beyond dispute that Gonzalez’s First EEO

Complaint made no mention of any wrongful conduct related to her SF-50 form or to her Customs

and Border Protection background check. See generally Ex. A; see also Dkt. 1 at 52-53.

       That said, Title VII plaintiffs may also bring claims that are “like or reasonably related to”

the allegations asserted in the EEOC charge. Id. at 691-92 (internal citation and quotation marks

omitted). To meet that standard, “the EEOC charge and the complaint must, at a minimum,

describe the same conduct and implicate the same individuals.” Id. at 692 (emphasis in original;

internal citation and quotation marks omitted); see also Conner v. Ill. Dep’t of Natural Res., 413

F.3d 675, 680 (7th Cir. 2005) (“The complaint filed in the district court and the charge filed with

the EEOC must, at a minimum, describe the same circumstances and participants.”).                But

Gonzalez’s SF-50 and background-check claims and her First EEO Complaint indisputably

involve different conduct and likely implicate different individuals. Her First EEO Complaint

focuses on her alleged constructive discharge in November 2015 and her allegations that the EEOC

failed to provide reasonable accommodations; those claims are not reasonably related to her SF-

50 and her background check with a separate agency—which occurred at different times and

involve substantively different conduct. Thus, these claims are not “like or reasonably related to”

the allegations asserted in her First EEO Complaint.

               2.     Gonzalez Failed to Timely Initiate Counselor Contact.

       Gonzalez’s Second EEO Complaint does not save her claims related to the SF-50 (1st Am.

Compl. ¶¶ 45, 69) or her claims related to the Customs and Border Protection’s background check

(1st Am. Compl. ¶¶ 46, 69) because she failed to timely exhaust those claims at the administrative


                                                 6
    Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 7 of 34 PageID #:303




level. Gonzalez waited more than 45 days—in fact, multiple months—after the conduct occurred

before initiating contact with an EEO counselor. Gonzalez’s delay bars any allegations in her

complaint based on this conduct.

       Claimants alleging discrimination “must initiate contact with [an EEO] Counselor within

45 days of the date of the matter alleged to be discriminatory or, in the case of personnel action,

within 45 days of the effective date of the action.” 29 C.F.R. § 1614.105(a)(1). The 45-day time

limit is strictly observed, and failure to comply with it requires dismissal.        29 C.F.R. §§

1614.107(a)(2) & 1614.109(b); Smith v. Potter, 445 F.3d 1000, 1006-07 (7th Cir. 2006) (overruled

in part on other grounds by Hill v. Tangherlini, 724 F.3d 965, 967 n. 1 (7th Cir. 2013)) (failure to

meet with EEO counselor within 45 days “equates to the violation of a statute of limitations and,

notwithstanding extenuating circumstances, would bar a federal employee from pursuing any

action against the government”).

       Gonzalez alleges that she contacted an EEO counselor on November 16, 2018, in regards

to the allegations of her Second EEO Complaint. 1st Am. Compl. ¶ 17. Regarding her SF-50

claims, Gonzalez alleges that, on or around January 5, 2016, the EEOC improperly included the

reasons for Gonzalez’s resignation on the Standard Form 50 (“SF-50”). 1st Am. Compl. ¶ 45. She

also alleges that she emailed the agency about the SF-50 in July 2017. Id. Based on her own

allegations, Gonzalez failed to initiate counselor contact within 45 days of the allegedly

discriminatory act. Id. Gonzalez initiated EEO counselor contact regarding the allegations of her

Second EEO Complaint on November 16, 2018 (1st Am. Compl. ¶ 17), over two years later, well

after the required 45-day window had passed. 29 C.F.R. §1614.105(a)(1). Thus, Gonzalez’s

claims related to the SF-50 (1st Am. Compl. ¶ 45) were not properly exhausted and should be

dismissed.


                                                 7
    Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 8 of 34 PageID #:304




       Similarly, Gonzalez’s allegations are also untimely with respect to her claims about her

background check with United States Customs and Border Protection. Gonzalez alleges that she

learned, on or around April 6, 2018, that the EEOC provided incorrect information to the Customs

and Border Protection background investigator that negatively affected her ability to secure

employment with Customs and Border Protection. Second EEO Complaint, Ex. B (see also Dkt.

1 at 9-10); Ex. C at 2 (see also Dkt. 1 at 33); Dkt. 1 at 12-13. Gonzalez failed to initiate counselor

contact within 45 days of the allegedly discriminatory act. Gonzalez first initiated EEO counselor

contact on November 16, 2018, over seven months after she first learned of the allegedly wrongful

conduct in April 2018. Thus, the claims alleged in her suit related to the Customs and Border

Protection’s background check (1st Am. Compl. ¶¶ 46, 69) are untimely and should be dismissed.

Rodriguez v. Napolitano, No. 12 C 7838, 2014 WL 1276193, at *7 (N.D. Ill. Mar. 27, 2014) (“The

45–day window acts as a statute of limitations, and the failure to consult with an EEO counselor

within the required time frame is grounds for dismissing an employee’s . . . claim.”).

                                            Conclusion

       The court should dismiss the agency from this suit. The court should also dismiss

Gonzalez’s allegations related to her Second EEO Complaint for failure to timely exhaust her

administrative remedies.

                                               Respectfully submitted,

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                                                  8
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 9 of 34 PageID #:305




             Exhibit A
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 10 of 34 PageID #:306
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 11 of 34 PageID #:307
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 12 of 34 PageID #:308
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 13 of 34 PageID #:309
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 14 of 34 PageID #:310
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 15 of 34 PageID #:311
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 16 of 34 PageID #:312
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 17 of 34 PageID #:313
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 18 of 34 PageID #:314
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 19 of 34 PageID #:315
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 20 of 34 PageID #:316
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 21 of 34 PageID #:317
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 22 of 34 PageID #:318




             Exhibit B
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 23 of 34 PageID #:319
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 24 of 34 PageID #:320
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 25 of 34 PageID #:321




             Exhibit C
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 26 of 34 PageID #:322
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 27 of 34 PageID #:323
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 28 of 34 PageID #:324
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 29 of 34 PageID #:325
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 30 of 34 PageID #:326
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 31 of 34 PageID #:327
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 32 of 34 PageID #:328
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 33 of 34 PageID #:329
Case: 1:20-cv-02111 Document #: 29 Filed: 01/05/21 Page 34 of 34 PageID #:330
